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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK

_______________________________________
WILLIAM I. KOCH, an individual,         )
                                        )
                    Plaintiff,          )   Case No. 07 CIV 9600 (BSJ) (DCF)
                                        )   ECF Case
       v.                               )
                                        )
ERIC GREENBERG, an individual, ZACHYS )
WINE & LIQUOR STORE, INC. a New York )
corporation, and ZACHYS WINE AUCTIONS, )
INC., a New York corporation,           )
                                        )
                    Defendants.         )
                                        )
                                        )
                                        )

                   OPPOSITION TO MOTION FOR ELIMINATION
               OR MODIFICATION OF PROTECTIVE ORDER AND FOR
                REMOVAL OF CONFIDENTIALITY DESIGNATIONS


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I.     INTRODUCTION

       Plaintiff William Koch’s Motion for Elimination or Modification of the Protective Order

and for Removal of Confidentiality Designations should be denied in its entirety.

       Koch requests that the Court eliminate or modify the Confidentiality and Protective Order

(“Order”) – to which he previously agreed over a year ago, which the Court approved, and which

Koch has never before challenged – because it has supposedly “outlived its usefulness.” But

Koch’s proffered reasons for eliminating the Order lack merit: the Order does not conflict with

the law; Greenberg has not “flaunted” or abused the Order as Koch alleges; and the need for the

Order remains stronger than ever because Koch has demonstrated that he seeks to use otherwise

private information for extra-judicial and commercial purposes.

       There is no authority for Koch’s proposal that the Order be modified to make all

documents produced in discovery publicly available by default, and to impose the onerous

requirement that the party designating a document as confidential file a motion substantiating

each designation with an evidentiary showing before making the designation. In fact, the Second

Circuit has expressly rejected such a scheme as “unthinkable” – and for good reason. The parties

to this case, and various third parties, have produced thousands of pages of documents

designated as confidential. Under Koch’s proposed scheme, the parties would have to brief, and

the Court would have to hear and decide, a motion on every single such document.

       In addition to seeking to eliminate the Order, Koch also moves the Court to overturn all

of Greenberg’s designations made to date. But Greenberg’s designations are proper under the

Order. Many of Greenberg’s documents are subject to a written confidentiality agreement with a

third party. Moreover, Greenberg is in the wine business, and his documents contain non-public,

commercially sensitive information such as inventory lists, prices he paid and his sources and

customers. Koch does not inform the Court that Koch has designated as confidential documents



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containing similar information as to his own wine. Further, Koch has not met and conferred as

to most of the designations he now challenges as required by the Order, and he has failed to raise

his objections in an informal conference with the Court as required by Local Rule 37.2. His

motion should be denied because it is procedurally barred.

       Koch’s real motivations in bringing his motion are improper. First, Koch is trying

retroactively to sanitize his and his agent Brad Goldstein’s intentional and ongoing violations of

the Order and to enable them to send documents obtained in discovery directly to the press and

the FBI. Second, Koch is trying to use his motion as a collateral attack on Greenberg’s Motion

to Enforce the Protective Order and for Sanctions – i.e., he is attempting to equate Greenberg’s

corroboration of a statement alleged by Koch’s agent to have been made by a third party with

Koch’s and Goldstein’s wholesale disregard of the Order. Finally, Koch revealed for the first

time in a document produced on November 24, 2010, that Goldstein is writing a book to glorify

Koch’s crusade to “clean up the wine industry.” Koch seeks to use documents from this

litigation to write his book, and the Order stands in his way.

II.    STATEMENT OF FACTS

       A.      The Order

       On or about August 7, 2009, Koch, Greenberg and Zachys agreed to most of the

provisions reflected in the Order, including the provision requiring the parties to meet and confer

regarding disputed designations and setting forth the procedure for challenging designations if

those meet and confer efforts fail:

       Should any counsel for a party object to the designation of any information as
       Confidential Information or Confidential – Attorneys’ Eyes Only Information,
       such counsel shall notify all other counsel of the objection. If notice of such an
       objection is received at any time, counsel for the parties shall promptly confer in
       an attempt to resolve the matter . . . . If the matter remains unresolved, objecting
       counsel may then apply to the Court for a determination of whether the
       designation should be removed. If no such application is made, the material shall
       remain as designated. Any information which has been produced and designated


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       as Confidential Information or Confidential – Attorneys’ Eyes Only Information,
       but which is subject to a dispute as to its proper designation, shall be treated as so
       designated pending resolution of the dispute.

Declaration of Amy L. Hespenheide (“Hespenheide Decl.”), Exh. A ¶ 5 (emphasis added).

       The only provision in the Order on which the parties could not agree was the clause

defining “Confidential Information” and “Confidential – Attorneys’ Eyes Only Information.”

Koch and Greenberg each submitted proposed definitions to the Court. Id. at 1-2. The Court

inserted its own definition for “Confidential Information”:

       [T]rade secrets; proprietary, non-public and competitively sensitive information,
       such as customer lists and contracts; non-public financial information (whether
       personal or corporate); and personal identifying information.

Id. ¶ 2. The Court also adopted Greenberg’s proposed definition for “Confidential - Attorneys’

Eyes Only Information”:       “[H]ighly sensitive ‘Confidential Information,’ that is reasonably

likely to interfere with a person’s business or personal affairs if seen by persons other than

attorneys.” Id.

       B.         The Parties’ Designations

                  1.    Greenberg’s designations

       Pursuant to the provisions of the Order, Greenberg has designated many of the documents

he has produced in this action as Confidential, because they contain non-public information that

is valuable to his wine business – including vendor information, customer information, inventory

information, pricing information and information about negotiating strategies, marketing

strategies and auction strategies – as well as other commercially and competitively sensitive

information. Greenberg has also designated as Confidential documents containing information

about his companies’ finances, his personal finances or other personal information. Declaration

of Eric Greenberg (“Greenberg Decl.”) ¶¶ 2-5.




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       For example, Greenberg has designated as Confidential all documents concerning his

dispute and settlement with Royal Wine Merchants (“Royal”), including documents submitted to

Fireman’s Fund Insurance Company as part of a confidential insurance claim by Greenberg

regarding the bottles of wine at issue in the Royal dispute (“Fireman’s Fund documents”).

Greenberg Decl. ¶ 7. In addition to containing lists of Greenberg’s wine, the prices he paid for

them and other very personal information (such as the value of Greenberg’s home), the

Fireman’s Fund documents, and all other documents relating to the Royal dispute, are also

confidential under the express terms of Greenberg’s settlement agreement with Royal, which

requires the parties to keep such information confidential. Id. Jeff Sokolin (Royal’s owner)

testified at deposition that he expected Greenberg to keep confidential the entire dispute.

Hespenheide Decl., Exh. B (Sokolin Depo.) at 177:21-180:22. Greenberg’s designations are

therefore also consistent with his contractual obligation.

       After Greenberg learned that Koch and his agent Brad Goldstein had intentionally

provided the confidential Fireman’s Fund documents to the press and to the FBI in violation of

the terms of the Order, Greenberg designated the Fireman’s Fund documents as Confidential –

Attorneys’ Eyes Only (“AEO”). Greenberg Decl. ¶ 7. Given Koch’s and Goldstein’s conduct,

Greenberg feared, and continues to fear, that Koch will provide such documents to the press and,

in turn, Greenberg’s competitors. Id.

       Greenberg has also designated as AEO certain deposition testimony of his former house

manager, Jaime Cortes, for the same reason: it contains highly personal information (such as

testimony regarding Greenberg’s wife) and Cortes’ unsupported claims of illegal conduct by

Greenberg that are unrelated to this case. Given Koch’s prior violations of the Order, there is

certainly the reasonable likelihood that this highly personal information and/or allegations of

illegal conduct by Greenberg will be sent to the press or otherwise publicized. Id. ¶ 8. Such



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disclosure would cause severe damage to Greenberg, including possibly irreparably harming his

reputation. Id. ¶¶ 7-8. The Fireman’s Fund documents and the Cortes deposition excerpts are

the only materials Greenberg has designated as AEO in this action. Hespenheide Decl. ¶ 4.

               2.     Koch’s designations

       Despite claiming that “[w]hat wines Greenberg has or had in his cellar . . . is not the type

of information that deserves protection” (Mot. at 5), Koch himself has taken the position that he

will not disclose any of the wines he owns or any information about them, except those wines

he has placed at issue in this case. Hespenheide Decl. ¶ 5. As for those wines, Koch has, like

Greenberg, designated as Confidential documents identifying them or disclosing information

about them. Id. Koch designated an inventory of some of his wine as Confidential under the

Order as recently as November 2, 2010. Id. ¶ 6.

       Koch’s expert on wine authentication, William Edgerton, has designated as AEO

documents that he claims contain sensitive business information. Hespenheide Decl. ¶¶ 7-8 and

Exh. C. Koch never explains why his own and Edgerton’s designations are proper, while

Greenberg’s designations on the same subjects are supposedly improper.

       Moreover, Koch previously designated Edgerton’s entire deposition transcript and all

exhibits there as Confidential. Hespenheide Decl. ¶ 9 and Exh. D (Edgerton Depo.) at 379:22-

25. Greenberg met and conferred with Koch’s counsel and requested that the designations be

removed. Id. ¶ 10. Koch’s counsel initially refused, so Greenberg submitted a letter brief to the

Court on April 21, 2010, requesting that the Court remove the designations (with the exception

of two deposition exhibits). Id., Exh. E. In response to this letter brief, Koch withdrew the

designation.   Id. ¶ 10.   This is the only time either party has formally challenged any

designations. Accordingly, although Koch argues at length that the Order is unworkable, he has

never brought a single challenge under the procedure required by the Order.



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                3.     Zachys’ designations

         Zachys has designated as Confidential 3,766 of the 4,309 pages it has produced.

Hespenheide Decl. ¶ 11.

                4.     Third party designations

         Contrary to Koch’s claim that third parties “may have” relied on the Order in “rare

instances” (Mot. at 13), most, if not all, of the third parties deposed in the case have signed the

Order, and have designated documents as Confidential based on the Order. Hespenheide Decl.

¶ 12. In total, third parties have designated as either Confidential or AEO 1,461 out of the 2,700

pages produced. Id. Although Koch claims that eliminating the order will not affect these third

party designations, he does not explain how this could possibly be the case, or how third parties

will be able to produce confidential documents going forward if there is no Order. As far as

Greenberg is aware, Koch did not give notice of his motion to any of the third parties who have

testified or who have produced documents in this action under the belief that their testimony and

documents would be protected by the Order.

         C.     Koch’s Failure To Meet And Confer

         Koch seeks to overturn the Order and all of Greenberg’s designations, but has not met

and conferred as required by the Order. Although Koch objected to some of Greenberg’s

designations between May and mid-July 2010, the vast majority of the designations to which

Koch objects were made after that. Hespenheide Decl. ¶¶ 13-15. Koch’s counsel never raised

objections to document designations made by Greenberg after July 20, 2010, and Koch’s counsel

did not so much as mention Koch’s instant motion before filing it. Id. Moreover, although Local

Rule 37.2 requires a party to schedule an informal conference with the Court before bringing a

discovery motion, Koch did not pursue such an informal conference prior to filing his motion

here.




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       D.     Koch’s And Goldstein’s Violations Of The Order

       As set forth in detail in Greenberg’s pending Motion to Enforce the Protective Order and

for Sanctions, Koch and Goldstein have intentionally violated the order, and have an ongoing

policy of doing so. Koch admitted in his opposition to Greenberg’s motion (on file with the

Court) that he improperly sent AEO documents to Goldstein, who then immediately sent the

documents to the press and the FBI. Moreover, even though this Court ordered Koch to identify

all disclosures by Goldstein of confidential documents or their contents, Koch and Goldstein

concealed an email from Goldstein to the FBI in which Goldstein discussed the contents of the

AEO documents and made false statements about Greenberg. Id., Exh. F (Goldstein Depo.) at

24:21-26:17. (See also Letter from A. Shartsis to The Hon. Debra Freeman dated November 12,

2010). Finally, Goldstein testified at his deposition that Koch and Goldstein have an ongoing

policy of providing documents subject to the Order to law enforcement regardless of the terms of

the Order if they feel it is appropriate to do so. Hespenheide Decl., Exh. F (Goldstein Depo.) at

7:4-22 and 10:11-11:8.

       E.     Koch’s Book

       Despite exhaustive briefing over Goldstein’s role in this litigation and the propriety of

sending him Confidential and AEO documents, Koch has concealed until recently the fact that

Goldstein is writing a book about Koch and his so-called “crusade” against counterfeit wine.

Greenberg learned about this book for the first time when Koch produced documents mentioning

the book on November 24, 2010. Hespenheide Decl. ¶ 17. Koch waited until two weeks after

Goldstein’s deposition to produce these documents, thus preventing Greenberg from questioning

Goldstein about the book. A document produced by Koch reveals that Goldstein has already

written 180 pages. Id., Exh. G (Transcript of Vanity Fair interview of Goldstein). Thereafter,

Koch’s counsel confirmed that the book includes discussion of Greenberg. Id., Exh. H (Email




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correspondence between Wessel and Cialone). Greenberg has demanded that Koch produce the

book draft, but he has refused to do so. Id. If Koch will not change his position, Greenberg will

file a motion to compel on this issue.

III.     ARGUMENT

         A.     Koch’s Motion Should Be Denied For His Failure To Abide By The
                Procedural Rules Of This Court.

         Local Rule 37.2 provides:

                No motion under Rules 26 through 37 inclusive of the Federal
                Rules of Civil Procedure shall be heard unless counsel for the
                moving party has first requested an informal conference with the
                court and such request has either been denied or the discovery
                dispute has not been resolved as a result of such a conference.

L.R. 37.2 (emphasis added).      Obviously, Koch’s motion asking the Court to eliminate the

Protective Order in this case and to remove the confidentiality designations on thousands of

documents produced in discovery falls within the scope of Federal Rules of Civil Procedure

26(c) (addressing protective orders) and 37 (addressing production of documents). Koch’s

motion should be denied on this basis alone.

         B.     Koch Cannot Meet The Heightened Burden For Vacating A Protective
                Order.

         If the Court decides to allow Koch’s motion to proceed despite his procedural failures,

Koch bears a heavy burden with respect to his attempt to vacate the Order. Under controlling

law, a party seeking to vacate a protective order entered pursuant to Federal Rule of Civil

Procedure 26(c) must make “a showing of improvidence in the grant of [the order] or some

extraordinary circumstance or compelling need.” Martindell v. International Tel. & Tel. Co.,

594 F.2d 291, 296 (2d Cir. 1979). See also In re September 11 Litigation, 262 F.R.D. 274

(S.D.N.Y. 2009) (same). In Martindell, the appellate court upheld the district court’s denial of a

motion by the government (who was not party to the case) to vacate a previously-entered




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protective order so that it could use discovery from the civil case as part of a pending criminal

investigation.    The court reasoned that in the absence of the showing set forth above, an

individual who produces documents or gives testimony believing they will be protected by a

protective order in place at the time should be entitled to rely on the its continued enforceability.

The court explained:

                 [T]he vital function of a protective order issued under Rule 26(c) . .
                 . is to ‘secure the just, speedy, and inexpensive determination’ of
                 civil disputes . . . by encouraging full disclosure of all evidence
                 that might conceivably be relevant. This objective represents the
                 cornerstone of our administration of civil justice. Unless a valid
                 Rule 26(c) protective order is to be fully and fairly enforceable,
                 witnesses relying upon such orders will be inhibited from giving
                 essential testimony in civil litigation, thus undermining a
                 procedural system that has been successfully developed over the
                 years for disposition of civil differences.

Id. at 295 (internal citations omitted).

         Koch cannot meet this heightened burden. He stipulated to entry of the Order more than

one year ago, so he cannot possibly now claim that there was “improvidence in the grant” of the

Order.    Moreover, as set forth below, Koch has failed to demonstrate any “extraordinary

circumstance” or “compelling need” for overturning the Order. To the contrary, none of Koch’s

purported reasons for vacating the Order has any merit, and the facts show that his true

motivations are improper.

         The Second Circuit has held that “[i]t is . . . presumptively unfair for courts to modify

protective orders which assure confidentiality and upon which the parties have reasonably

relied.” SEC v. TheStreet.com, 273 F.3d 222, 229 (2d Cir. 2001) (allowing access to transcripts

of depositions taken before protective order was entered). Koch cites several cases that reference

the proposition that it is unreasonable for parties to rely on an umbrella or blanket protective

order. This is not an absolute rule, however. Rather, a court must determine whether the party

seeking to uphold the protective order reasonably relied given the particular facts and


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circumstances of the case.          See generally In re September 11 Litigation, supra (applying

Martindell standard and denying motion to set aside confidentiality designations made under

protective order submitted jointly by parties).

        In this case, the Order is not temporary or limited. Rather, it expressly provides that the

obligations created by the Order will survive the termination of this action and that the Court

shall retain jurisdiction, even after termination of the action, to enforce the Order. Hespenheide

Decl., Exh. A ¶ 13. In fact, the Court invited the parties to submit a proposed confidentiality

order after Greenberg raised concerns about privacy, embarrassment and harassment in several

motions to quash subpoenas Koch issued to third parties. Greenberg had already objected to

production of any documents prior to entry of an appropriate protective order by the Court in his

responses to Koch’s written discovery. Cf. Greenberg Decl. ¶ 9 (Greenberg relied on Order in

producing documents). This case, therefore, most closely resembles the Sept. 11 Litigation case.

It was reasonable for Greenberg and third parties to rely on the Order.

        C.       The Law Supports Upholding The Current Protective Order.

        Despite having previously agreed to the Order while represented by two law firms, Koch

now makes the untimely assertion that the Order is contrary to the law. But the cases Koch cites,

all of which were published before Koch agreed to the Order, speak only to the burden of

persuasion. The Order leaves the burden of persuasion exactly where those cases say it should

be, on the party or third party who designates a document as Confidential.1 The Order merely

requires that the party who challenges confidentiality file the opening and reply memoranda, a

procedural provision that does not change the burden of persuasion. Accordingly, the Order is

completely consistent with the law.


1
         In fact, Greenberg has previously noted to this Court that, in the one challenge to a confidentiality
designation that has actually been made, Koch as the designating party had the burden of persuasion, even though
Greenberg as the challenging party had the burden of filing the motion. Hespenheide Decl., Exh. E.



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       Koch also misrepresents the cases he relies upon by asserting that they require the party

claiming confidentiality to file a motion and make an affirmative showing before making a

designation. No case has ever required this, and for good reason. In this case, as in many cases

where confidentiality orders are issued, the core issues as to which most discovery relates

concern the sensitive business and personal information that the parties want and are entitled to

keep confidential. This case is about the fine wine business. Greenberg is in that business.

Greenberg Decl. ¶ 2 and Exh. A. Accordingly, he has thousands of documents containing non-

public commercial information that have been produced or may be produced in this litigation.

Id. Under Koch’s proposed scheme, Greenberg would have to bring a motion, and the Court

would have to adjudicate that motion, with respect tot every such document produced. This

would be entirely unworkable.

       The very authority on which Koch purports to rely rejects his proposed system. Koch

cites U.S. v. Amodeo (Amodeo II), 71 F.3d 1044, 1048-49 (2d Cir. 1995) in support of his request

to make all documents produced in discovery publicly available, but the Amodeo court expressly

rejected such a scheme:

              Unlimited access to every item turned up in the course of litigation
       would be unthinkable. Reputations would be impaired, personal relationships
       ruined, and businesses destroyed on the basis of misleading or downright false
       information. . . .

              . . . Moreover, a court can strike a pleading as scurrilous under Federal
       Rule of Civil Procedure 12(f) whereas it is powerless to discredit every statement
       or document turned up in the course of litigation.

       *      *       *

                Where testimony or documents play only a negligible role in the
       performance of Article III duties, the weight of the presumption [in favor of
       public access] is low and amounts to little more than a prediction of public access
       absent a countervailing reason. Documents that play no role in the performance
       of Article III functions, such as those passed between the parties in discovery,
       lie entirely beyond the presumption’s reach, and stand on a different footing than
       . . . a motion filed by a party seeking action by the court . . . .



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Id. at 1048-50 (internal citations omitted) (emphasis added). Amodeo II states only the well-

established principle (which Greenberg does not dispute) that a party seeking to file “judicial

documents” under seal bears the burden of establishing that the documents are confidential;

indeed, the Amodeo II court expressly limited the presumption of public access to documents

filed with the court in support of a request for court action. Id. The other cases that Koch cites

fail to support his position for the same reasons.

        D.     Greenberg Has Not Violated The Order.

        Koch argues that the Order should be eliminated because Greenberg has violated it by

sending a single email to Frank Komorowski, a third party:

        Frank: I am in a deposition with Brad Goldstein. He attributes to you statements
        that Sotheby’s rejected 1/3 of my cellar directly to you. This is not true and
        evidence in this case is on record supporting it. I cannot imagine someone of your
        impeccable reputation making those statements. Do you tell this to Mr.
        Goldstein? Many thanks, Eric.

Mot. at 3-4. By this email Greenberg was simply confirming whether Komorowski made the

statement attributed to him by Goldstein – hardly a disclosure of confidential information.

Greenberg had no other way to determine whether Komorowski made the statement.

        The Order in this case specifically provides that disclosure of information to the “author”

of the information is not prohibited by, and thus is not a violation of, the Order:

        (f)    Exceptions. The limitations on disclosure contained in this Protective
        Order shall not apply to the disclosure of documents, or the contents thereof, to
        persons who were authors or addressees of those documents, or who actually
        received copies prior to the commencement of this lawsuit.

Hespenheide Decl., Exh. A ¶ 4(f). Although the Order speaks in terms of “documents,” it must,

logically speaking, apply to deposition testimony about an alleged statement by a third party, as

well.   If, for example, Goldstein had testified at his deposition that a document allegedly

containing a statement about Greenberg was authored by Komorowski, Greenberg would




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unquestionably be entitled to show the document to Komorowski and ask him whether he in fact

authored it. The same reasoning and rationale must necessarily apply to an oral statement.

       Despite arguing that Greenberg has repeatedly violated the Order, the single

communication with Komorowski about Komorowski is the only claimed violation Koch alleges.

Other than that single permitted disclosure, Koch’s only other “evidence” that Greenberg has

violated the Order is that Greenberg has attended most depositions and has used his Blackberry

during such depositions. This, of course, is not prohibited by the Order and is irrelevant.

       E.      Greenberg’s Designations Are Proper.

       Koch argues at length that Greenberg’s designations are inappropriate, but he does not

cite any authority or make any evidentiary showing on this point. Moreover, Koch did not meet

and confer as to the vast majority of Greenberg’s designations as required by the Order, and has

not previously filed a challenge with the Court of any of Greenberg’s confidentiality

designations, even those filed under seal in support of previous motions. Accordingly, Koch

should not now be allowed to burden Greenberg with justifying thousands of designations when

Koch has not identified what he contends is wrong with them. Although Koch’s failure to meet

and confer and failure to comply with Local Rule 37.2 provide ample justification for denying

Koch’s motion, it is also the case the Greenberg’s designations are entirely proper under the

Order and under the law, as set forth below.

               1.      Greenberg’s “Confidential” designations are proper because he is in
                       the wine business.

       The Order defines “Confidential Information” as “trade secrets; proprietary, non-public,

and competitively sensitive information, such as customer lists and contacts; non-public financial

information (whether personal or corporate); and personal identifying information.”

Hespenheide Decl., Exh. A ¶ 2. The documents and deposition testimony that Greenberg has

designated as Confidential all fall squarely within this definition.


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        Greenberg is in the business of buying and selling wine, especially fine and rare wine.

He owns a private company, Innovation Wines LLC, through which he transacts this business.

Greenberg Decl. ¶ 2 and Exh. A. Accordingly, which wines Greenberg owns or does not own,

how much he paid for them, where he purchased them, to whom he sold them, prices of sale, and

his marketing and negotiating strategies are all “non-public and competitively sensitive

information” with value to Greenberg’s – or his competitors’ – wine business. Id. Koch has also

designated such information as Confidential as recently as several weeks ago, but does not

mention, much less explain, this contradiction in his motion.

        In his motion, Koch recognizes that customer lists are deserving of protection and should

be kept confidential (Mot. at 5), but he concludes – without authority, factual basis or even an

explanation – that none of the documents produced by Greenberg qualify as a customer list. In

fact, if the documents that Greenberg has produced in this case and designated as Confidential

were de-designated, a substantial portion of Greenberg’s customer and source lists for his wine

business would be disclosed to the public, including to his competitors. Greenberg Decl. ¶¶ 3-4.

        Koch claims that Greenberg has “overused” and “abused” the Order based on the fact that

Greenberg has designated as Confidential a large number of the documents he has produced in

this litigation.   This, however, is simply a function of the subject matter of this case in

conjunction with the nature of Greenberg’s business. Put simply, the case is about Greenberg’s

wine business, so most of the documents are related to Greenberg’s (privately-owned) wine

business and, therefore, are confidential. Koch also argues that Greenberg has improperly

designated the entire depositions of several witnesses as Confidential, but Greenberg’s counsel

informed Koch’s counsel at the time that these were temporary designations, and has made more

narrow designations since then.       Hespenheide Decl., Exhs. I-J (Hespenheide letter and

Munzinger email correspondence to Pollock).



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               2.      Greenberg’s “AEO” designations are proper, particularly given
                       Koch’s violations of the Order.

       The only documents that Greenberg has designated as AEO under the Order are

documents relating to Greenberg’s insurance claim to Fireman’s Fund regarding the Royal

dispute. Hespenheide Decl. ¶ 4. These designations are proper under the Order and under the

circumstances here. As set forth above, the Fireman’s Fund documents contain non-public

information regarding Greenberg’s business of selling wine, including lists of his wine, their

sources and value, as well as Greenberg’s identifying information and personal financial

information. Accordingly, these documents satisfy the first requirement under the Order that

documents designated AEO must meet the standard for “Confidential” information.

       The Fireman’s Fund documents also meet the second requirement for documents to be

designated AEO – that is, they contain information “that is reasonably likely to interfere with a

person’s business or personal affairs if seen by persons other than attorneys.” Koch argues that

the documents designated AEO by Greenberg do not meet this standard because Koch is not

Greenberg’s competitor, but this argument fails for several reasons. First, it is not true. Koch,

like Greenberg, collects rare and fine wine, which by definition is in very limited supply.

Accordingly, they are in direct competition in this narrow sphere of business.

       Second, even if Koch were not Greenberg’s competitor, the Order does not limit AEO

designations to situations where the parties compete with each other. Rather, the Order sets forth

a standard that takes into account the circumstances at hand and gives the Court discretion in

determining whether these circumstances indicate a reasonable risk of interference with a party’s

business or personal life. Here, Koch’s and his agent Brad Goldstein’s intentional and ongoing

violations of the Order for the purposes of waging a war in the press against Greenberg,

destroying his reputation and spurring a criminal investigation establish that if Koch or any of his

agents other than his counsel obtain sensitive documents, they are “reasonably likely to interfere


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with [Greenberg’s] business or personal affairs.” Koch’s use of this information for personal

glorification and commercial purposes by means of the book Goldstein is writing is further

justification for Greenberg’s AEO designations. (The same is true for Greenberg’s limited AEO

designations of his personal information in the Cortes deposition transcript.)

        Koch cites Unico American Corp. v. Crusader Captive Services, LLC, 2006 WL

2355524, at *2 (N.D. Ill. 2006), for the proposition that two-tier protective orders that allow for

AEO designations are improper. Unico, however, was decided on its unique facts and does not

broadly condemn two-tier protective orders. (Such orders are routinely entered by courts.) The

instant case is distinguishable from Unico in that there was no evidence in that case that the

parties would intentionally send confidential documents to the press and the FBI in violation of

the protective order if disclosure were not limited to counsel. Here, Koch and Goldstein have

demonstrated the need for an AEO tier in the Order.

                 3.       Greenberg has not waived the right to make his designations.

        Koch argues that Greenberg has waived the right to designate his entire wine inventory as

Confidential because Greenberg has published limited lists of some of his wines in connection

with auctions. Mot. at 6. Aside from referring to auction information, Koch does not attach or

reference a single list of wine that Greenberg has made public. Moreover, Koch’s argument is

based on the plainly erroneous proposition that Greenberg publishes his entire wine inventory

when he chooses to auction particular bottles. Greenberg does, of course, publish the identity of

some of his wines when he chooses to auction them – often through publication of an auction

catalog.2 By doing so, however, Greenberg does not waive his right to keep his overall inventory

confidential.



2
       Greenberg has not designated as Confidential any auction catalogs he has produced in this case.
Hespenheide Decl. ¶ 22.



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       Koch also argues that Greenberg waived his right to designate the Fireman’s Fund

documents as Confidential by providing them to his insurer as a part of an insurance claim and

by sending them to opposing counsel in connection with potential litigation. This argument is

ridiculous on its face. Under Koch’s theory, any time someone provided his or her social

security number on a loan application, that individual would waive the right in later litigation to

designate as confidential documents disclosing his or her social security number. Furthermore,

in this case, the past disclosures referenced by Koch were themselves confidential: Greenberg’s

insurer owes him a legal duty to keep his claim confidential, and the documents in question were

provided to Royal’s counsel only as a part of confidential settlement communications.

Greenberg Decl. ¶ 7.

       F.      Koch’s Motion Assumes Facts That He Has Not Proven And Cannot Prove.

       Koch argues, with no support whatsoever, that Greenberg’s documents are not

confidential because they relate to Greenberg’s sale of counterfeit wine, and even goes so far as

to suggest that the Court, by allowing Greenberg to designate documents Confidential as part of

the discovery process, is aiding Greenberg in fraudulently selling counterfeit wine.          This

argument, of course, assumes that Greenberg is guilty until proven innocent, or that it has already

been established that Greenberg knowingly sold counterfeit wine. In fact, neither assumption is

true. Our legal system assumes that a party is innocent until proven otherwise, and, despite six

lawsuits by Koch and millions of dollars in attorneys’ fees, no court has determined that any of

the wines Koch claims are counterfeit are in fact fake – much less that Greenberg intentionally

sold Koch fake wine.




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         G.       Greenberg’s Protection Of His Rights Is Not Improper.

         Koch accuses Greenberg of trying to silence adverse witnesses, including Koch’s expert

Edgerton, Greenberg’s former house manager Cortes and wine blogger Maureen Downey. First,

this is factually incorrect. Greenberg has deposed Edgerton for one day and is seeking to depose

him for another day regarding the twenty-five new bottles added by Koch’s recent Amended

Complaint. Greenberg intends to call Edgerton at trial, and has indicated his importance as a

witness in pre-trial filings. Because Edgerton’s work and testimony are so flawed, Koch is

trying to drop Edgerton as his expert and to prevent him from testifying further. Accordingly, it

is Koch, not Greenberg, who is trying to silence Edgerton. Moreover, Greenberg has withdrawn

his lawsuit against Edgerton so that Koch cannot use that lawsuit as a pretext for avoiding the

reality of Edgerton’s testimony and trying to keep the jury from hearing Edgerton’s deposition

testimony in this matter.3

         Similarly, Greenberg has never attempted to influence Cortes’ testimony. Greenberg

informed Cortes through counsel that Greenberg considered Cortes’ written non-disclosure

agreement to be in full effect and that Greenberg would enforce his rights. This was legal and

proper. Moreover, Greenberg did not seek to prevent Cortes’ deposition, and, in fact, argued to

the court in Texas that Cortes should appear for deposition. Hespenheide Decl., Exh. K (Opp. to

Cortes Motion for Protective Order).

         As for Downey, after her deposition, Greenberg’s counsel requested a retraction of

demonstrably defamatory statements published by Downey on an internet blog to the effect that

Greenberg intentionally sold fake wine. Hespenheide Decl., Exh. L (Cialone letter to Wessel).


3
          Greenberg’s lawsuit against Edgerton was justified. Greenberg hired Edgerton as a litigation consultant to
advise him in Greenberg’s dispute with Royal, so communications with Edgerton were attorney-client privileged
and work product, which Edgerton has known at all times. Edgerton knowingly provided confidential information
and privileged communications to Koch in breach of his obligations to Greenberg. However, Greenberg has
determined that being able to present to the jury in this case Edgerton’s testimony — which is directly related to the
validity of Koch’s claims — outweighs the harm to Greenberg from Edgerton’s wrongful conduct.



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Again, such a request is completely legal and proper, and has absolutely nothing to do with

Downey’s deposition, which was not designated as Confidential by anyone.

         H.       The Order Does Not Make It Harder For Koch To Litigate This Case.

         Koch argues that the Order has unfairly made it more difficult for him to litigate this case

because he must file under seal documents designated by Greenberg as Confidential. Koch does

not explain, however, how filing a motion or opposition under seal has prejudiced him, nor has

he challenged any of the documents Greenberg previously filed under seal until now. In fact,

filing under seal has no effect on the litigation. Koch can still rely on any document and does not

have to sacrifice making any argument. All he has to do is redact the materials designated

Confidential, which takes negligible effort. Such effort would have to be taken even if the Order

were modified to shift the burden of filing a motion to seal documents filed with the Court to the

designating party, because such an order would still, necessarily, require the parties to treat the

designated materials as Confidential until proven otherwise.4

         I.       Koch’s Real Motivations For His Motion Are Improper.

         Koch has brought the instant motion for three reasons that have nothing to do with the

lawsuit.      First, Koch seeks to escape the consequences of his formal, ongoing policy of

disclosing documents designated as Confidential to law enforcement, regardless of this Court’s

Order, if he believes it is appropriate to do so.

         Second, Koch is trying to use his instant Motion as a sur-reply in opposition to

Greenberg’s pending Motion to Enforce the Protective Order and for Sanctions, in which

Greenberg seeks relief for Koch’s and Goldstein’s wrongful conduct in sending AEO documents

to the press and to the FBI and concealing Goldstein’s email correspondence to the FBI. Koch


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         Even if there is any additional cost involved with filing under seal – which Koch understandably does not
argue – Koch has already demonstrated that he is willing to spend millions of dollars to litigate a matter in which he
has been offered a full refund on three different occasions, dating back to the beginning of the case.



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seeks somehow to excuse those violations and practices by arguing that Greenberg has also

violated the Order. But Greenberg’s single disclosure to Komorowski regarding a statement

attributed to Komorowski was permitted under the Order, and does not excuse the numerous,

intentional and continuing violations of the Order by Koch and Goldstein.

        Finally, Koch wants the Order stricken so that he can use discovery from this case to

glorify himself and make money through the book Goldstein is writing for him. With the Order

out of the way, Koch will be able to use any material he wishes for his book without explaining

himself to the Court or giving Greenberg a chance to protect himself. This may explain why

Koch is continuing to litigate this case when he has been offered a full refund. Without this

lawsuit, Koch would never have access to Greenberg’s confidential business and personal

information for his book. Moreover, if the Court lifts the Order, Koch will try to use this as a

defense if he later publishes false and misleading information about Greenberg in his book. The

Court should not allow Koch manipulate the judicial system and use it for self-promotion and to

make a profit.

IV.     CONCLUSION

        For these reasons, Koch’s motion should be denied in its entirety, and the Order should

remain in place as written. If Koch seeks to challenge specific documents designated under the

Order, then he should follow the procedure set out in the Order – he should first identify the

specific documents challenged to Greenberg’s counsel, then meet and confer with Greenberg,

and then, if the parties cannot reach agreement, request a conference with the Court as required

under Local Rule 37.2.




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Dated: December 10, 2010                 Respectfully submitted,


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